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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA


     V.                                      CR 494-086


THEODORE BROWN




                                ORDER




     Presently before the Court is Defendant's pro se motion for

"Compassionate    Release/Redution   in   [S]entence"    pursuant   to   18

U.S.C. § 3582(c)(1).

     In 1994 Defendant was found guilty by a jury of possession of

a firearm by a convicted felon in violation of 18 U.S.C. § 922(g).

On February 13, 1995, he was given an enhanced sentence of 312

months in prison under the Armed Career Criminal Act, 18 U.S.C. §

924(e)(1).   He is currently housed at Beaumont Low FCI in Beaumont,

Texas.    He is 68 years old.    His projected release date is March

24, 2032.1

     Upon review of Defendant's "motion," it appears that the

intended recipient of this correspondence is the Warden of Beaumont

Low FCI.     The Court is listed only as a carbon-copy recipient.




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Thus, it does not appear that this Court has a pending motion that

requires resolution.

        Moreover, while § 3582(c)(1) now allows a defendant to move

a federal district court for               what is   commonly referred          to as

"compassionate release," he may only do so "after the defendant

has fully exhausted all administrative rights to appeal a failure

of the Bureau of Prisons to bring a motion on the defendant's

behalf or the lapse of 30 days from the receipt of such a request

by the warden of the defendant's facility, whichever is earlier."

Defendant's     "motion"     does    not   show   that    he    has   exhausted     his

administrative remedies.            In fact, his correspondence may be the

first step he has taken to do just that.                 In any case, this Court

cannot consider his request for relief based upon Defendant's

January 30^^ filing.

        Upon the foregoing. Defendant's § 3582(c)(1) motion is DENIED

without     prejudice   to   Defendant       to   file    a    new    motion   at   the

appropriate time.

     ORDER ENTERED at Augusta, Georgia, this                           day of March,

2019.




                                                              HALE, CHIEF JUDGE
                                              UNITEy STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF GEORGIA
